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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

 

for the
Middle District of Florida
PNC BANK, NATIONAL ASSOCIATION as )
successor in interest to RBC CENTURA BANK
)
Plaintif{(s) )
Vv. Civil Action No.
SUITE 208 HOLDINGS, LLC, RICHARD POWELL, ) ty. I-N- 4443 3-DRL-S1 —DA
SR., RICHARD POWELL, JR., JOSEF POWELL, & )
FRANTZ ALPHONSE )
a a)
Defendant(s) )

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) RICHARD POWELL, JR.
4206 Flora Vista Drive
Orlando, FL 32837

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Robert D. Mcintosh, Esq.

Mclntosh Schwartz, P.L.

888 SE Third Avenue, Suite 201
Fort Lauderdale, FL 33316
954-556-1480

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

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